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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )              CASE NO. 8:08CR438
                                                )
               Plaintiff,                       )
                                                )
               vs.                              )                      ORDER
                                                )
TORONE RUSSELL,                                 )
                                                )
               Defendant.                       )

        This matter is before the Court on the third party’s request for a transcript (Filing No.

151).

        The request for a transcript of the trial testimony of Kenneth Jones is hereby

granted. The court reporter is directed to produce said transcript and deliver the same to

the third party upon payment of the fees for said transcript.

        IT IS ORDERED that the third party’s request for a transcript (Filing No. 151) is

granted under the conditions described above.

        DATED this 9th day of July, 2009

                                                    BY THE COURT:


                                                    s/Laurie Smith Camp
                                                    United States District Judge
